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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ACUITY BRANDS LIGHTING, INC.,

           Plaintiff/Counterclaim Defendant,           C.A. No. 1:19-cv-02207-MN
                                                       JURY TRIAL DEMANDED
 vs.

 ULTRAVISION TECHNOLOGIES, LLC,

           Defendant/Counterclaim Plaintiff.



                     NOTICE OF DEPOSITION OF DR. ZANE COLEMAN

          PLEASE TAKE NOTICE that pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Plaintiff/Counterclaim Defendant Acuity Brands Lighting, Inc. (“Acuity”), by and

through its counsel of record, will take the oral deposition of Dr. Zane Coleman virtually, via

Planet Depos.

          The deposition will commence on April 22, 2021, at 9:00 am Central Standard time. The

deposition will be taken before a qualified notary public or other officer authorized by law to

administer oaths, and will continue from day-to-day, excluding weekends and holidays, until

completed. The testimony will be recorded stenographically and videotaped. You are invited to

attend.
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Dated: April 15, 2021                 DUANE MORRIS LLP

OF COUNSEL:
                                      /s/ Richard L. Renck
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                             CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing document, NOTICE OF DEPOSITION OF DR.

ZANE COLEMAN was served via electronic mail upon Ultravision’s counsel on April 15, 2021.


Dated: April 15, 2021                          /s/ Richard L. Renck____ _
                                               Richard L. Renck (#3893)

                                               Counsel for Plaintiff and Counterclaimant
                                               Acuity Brands Lighting, Inc.
